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TO:
            Register of Copyrights                               REPORT ON THE
              Copyright Office                           FILING OR DETERMINATION OF AN
             Library of Congress                                ACTION OR APPEAL
            Washington, D.C. 20559                           REGARDING A COPYRIGHT


 Action or Appeal? Action                  Court Name and Location
 Docket No.             Date Filed:                  SOUTHERN DISTRICT OF TEXAS
 4:19−cv−03815          10/3/2019
                                                            HOUSTON DIVISION
                                                           United States District Court
                                                                 515 Rusk Ave
                                                              Houston, TX 77002
 Plaintiff(s)                                      Defendant(s)
 Five Oaks Achievement Center, LLC                 Gary McWhorter, et al.
 In compliance with the provisions of 17 U.S.C. § 508, you are hereby advised that a court action or
 appeal has been filed on the following copyright(s):
 A copy of the complaint is being mailed with this form.

 Clerk:                               By Deputy Clerk:                   Date:
 David J. Bradley, Clerk              S. Shelby                          10/4/2019
